                       Case 1:16-cv-00745-ESH Document 3 Filed 04/22/16 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         District
                                                   __________     of Columbia
                                                               District of __________
    NATIONAL VETERANS LEGAL SERVICES
PROGRAM, NATIONAL CONSUMER LAW CENTER,
                                                                    )
and ALLIANCE FOR JUSTICE, for themselves and all                    )
            others similarly situated                               )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 16-cv-745-ESH
                                                                    )
                                                                    )
                  United States of America                          )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION
                                           UNITED STATES OF AMERICA
To: (Defendant’s name and address) c/o Attorney General of the United States
                                           United States Department of Justice
                                           Room 4400
                                           950 Constitution Ave., NW
                                           Washington, D.C. 20530



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Deepak Gupta
                                       Gupta Wessler PLLC
                                       1735 20th Street, NW
                                       Washington, DC 20009
                                       (202) 888-1741
                                       deepak@guptawessler.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:       4/22/2016                                                               /s/ Jean-Claude Douyon
                                                                                         Signature of Clerk or Deputy Clerk
                        Case 1:16-cv-00745-ESH Document 3 Filed 04/22/16 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 16-cv-745-ESH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:16-cv-00745-ESH Document 3 Filed 04/22/16 Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                          District
                                                    __________     of Columbia
                                                                District of __________
    NATIONAL VETERANS LEGAL SERVICES
PROGRAM, NATIONAL CONSUMER LAW CENTER,
                                                                      )
and ALLIANCE FOR JUSTICE, for themselves and all                      )
            others similarly situated                                 )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 16-cv-745-ESH
                                                                      )
                                                                      )
                  United States of America                            )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION
                                           UNITED STATES OF AMERICA
To: (Defendant’s name and address) c/o Civil Process Clerk
                                           United States Attorney's Office for the District of Columbia
                                           555 4th Street, NW
                                           Washington, DC 20530




          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are:
                                       Deepak Gupta
                                       Gupta Wessler PLLC
                                       1735 20th Street, NW
                                       Washington, DC 20009
                                       (202) 888-1741
                                       deepak@guptawessler.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        4/22/2016                                                                /s/ Jean-Claude Douyon
                                                                                            Signature of Clerk or Deputy Clerk
                        Case 1:16-cv-00745-ESH Document 3 Filed 04/22/16 Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 16-cv-745-ESH

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                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
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                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
